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                   EXHIBIT A
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  1   ERIC V. LUEDTKE, ESQ. - STATE BAR #172360
      LAW OFFICES OF ERIC V. LUF,DTKE
  2   3230 E. Imperial Highway, Suite 208
  3
      Brea, California 92821
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      Facsimile No. (714) 579-1710
  4                                                                            JUN 1 8 2018
      Attorneys for Plaintiff,
  5   Karirna Hussein                                                          J. Marcia'
  6
  7
  8
  9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 10                              IN AND FOR THE COUNTY OF RIVERSIDE
 11
      KARNA HUSSEIN,                                    CASE NO.:      RIC1812229
 12
                      Plaintiff,                        Unlimited Jurisdiction
 13                                                     Not Yet Assignedfor All Purposes to:
         vs.
 14
                                                         COMPLALNT FOR DAMAGES:
 15
      SPARTAN COLLEGE OF                                1)      Gender Discrimination-Sexual
 16   AERONAUTICS AND TECHNOLOGY;                               harassment
      SPARTAN EDUCATION GROUP, LLC;                      2)     Race/National Origin Discrimination
 17   LEVI MYERS, an Individual; and DOES 1                     Violation of Government Code
      through 20, Inclusive,                             4      Violation of Government Code
 18                                                             12940-Hostile Work Environment
                      Defendants.                        5)     Religious Discrimination
 19                                                      6)     Retaliation Under FEHA
                                                         7)     Wrongful Termination in Violation
 20                                                             of Public Policy
 21
 22
               PLAINTIFF ALLEGES AS FOLLOWS:
 23
                              FACTS COMMON TO ALL CAUSES OF ACTION
 24
               1. Plaintiff, KAR1MA HUSSEIN (hereinafter "Plaintif') is and at all times herein
 25
      mentioned in this COMPLAINT was and is a resident of Riverside County, State of California..
 26
      For purposes of this pleading, the operative pleading or Complaint shall mean this "Complaint."
 27
               2. Plaintiff is informed and believe and, based thereon, alleges that defendants,
 28
      SPARTAN COLLEGE OF AERONAUTICS AND TECHNOLOGY, and SPARTAN
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                                                 COMPLAINT
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  1   EDUCATION GROUP, LLC, (hereinafter "SPARTAN" or "Defendants") was and at all relevant
  2   times herein mentioned was, an California Corporation, doing business in the county of
  3   Riverside, with its principal place of business in Riverside County to be at 4130 Mennes Avenue,
  4   Riverside, California 92509. Defendant LEVI MYERS (hereinafter, "MYERS" or "individual
  5   Defendant"), was employed by SPARTAN and interacted with Plaintiff who was in the State of
  6   California while Plaintiff was working in the County of Riverside, State of California.
  7   Defendants provided services and were and are in the private college business and Plaintiff was
  8   involved primarily in the Admissions Department being employed as a Field
  9   Manager/Enrollment Manager.
 10          3.      Plaintiff is ignorant of the true names and capacities of defendants sued herein
 11   as DOES 1 through 20, Inclusive, and therefore sues these defendants by such fictitious names.
 12   Plaintiff will amend this complaint to allege their true names and capacities when ascertained.
 13   Plaintiff is informed and believes and thereon alleges that each of the defendants fictitiously
 14   named herein is indebted and liable to Plaintiff as herein set forth.
 15          4.      Plaintiff is informed and believes and thereon alleges that at all relevant times,
 16   except where otherwise indicated, each defendant was the agent, servant, or employee of each
 17   remaining defendant, and was at all such times, except where otherwise indicated, acting within
 18   the scope and purpose of such agency, and that each act of each defendant was authorized and
 19   ratified by each remaining defendant. Plaintiff's primary location of employment was in the
 20   County of Riverside, State of California and Plaintiff worked for Defendants in Riverside and
 21   also via her home sometimes in Riverside County.
 22          5. Plaintiff was employed with Defendant company SPARTAN from November 30,
 23   2015 through approximately July 13, 2016 when she finally received her last pay. Plaintiff was
 24   told, that she was terminated on June 28, 2016.
 25          6. Throughout her tenure of employment with Defendants, Plaintiff was a reliable and
 26   dedicated member of Defendants's team and her job performance was more than satisfactory
 27   over the tenure of her employment.
 28           7, Plaintiff was terminated for the causes of actions and facts stated in this Complaint.
      Defendants, including individual Defendant LEVI MYERS harassed Plaintiff in a myriad of
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                                                 COMPLAINT
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                                                                      !
      ways by creating a hostile work environment, intervening in Plaintiff's work, bringing up non-
  2   work related private issues, and sexually harassing Plaintiff as well as being unprofessional .
  3   After Plaintiff complained to SPARTAN, Plaintiff was ostracized and ignored by Defendant
  4   Myers, was not invited to meetings, and was retaliated against, treated differently, and singled
  5   out. Defendants, including Defendant Myers, weaponized the strategies and practices of
  6   SPARTAN and its enforcement tools against Plaintiff in order to harass, retaliate and terminate
  7   Plaintiff.
  8           8. At the time Plaintiff was terminated there were other employees similarly situated that
  9   remained who had less qualifications and experience than Plaintiff who performed all jobs and
 10   duties that Plaintiff was capable of doing and said employees remained employed instead of
 11   Plaintiff, Further, there was no good faith interactive process even though Plaintiff had
 12   complained about the hostile and stressful environment, harassment, and the lack of proper
 13   training for herself With respect to her job as well as all employees with respect to discrimination,
 14   harassment and proper job conduct. Defendants, including MYERS failed to hold a good faith
 15   interactive meeting and protect Plaintiff from discrimination,
 16           9. Plaintiff was really given no reason for her termination other than she was told that
 17   there was a secret shopper. She asked questions but was not given an answer. All Defendants
 18   create attempted to create a negative reflection on Plaintiff in the hopes attempt to try to
 19   terminate Plaintiff for cause.
 20           10.     Plaintiff was harassed and discriminated due to the protected classes stated in this
 21   Complaint. Plaintiff was also sexually harassed, improperly stared at, told that she was gorgeous
 22   and beautiful and attractive, and asked in appropriate non job related questions. Defendants
 23   MYERS made sexual innuendos in front of Plaintiff, told perverted jokes, and often listened too
 24   and told jokes about "Black" people in front of Plaintiff as well as others. Defendant MYERS
 25   also questioned Plaintiff about her religion, that of being of the Islam religion, and told her he
 26   could not understand that religion. He would ridicule and put down Plaintiff's religion, talk
 27   about the wars in the gulf, belittle the Islamic religion and tell Plaintiff that he could not accept
 28   the Islamist religion. Other employees would tell Plaintiff that Defenant MYERS always wanted
      Plaintiff in his face and that he could not get enough of her looks and would always comment
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                                                 COMPLAINT
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       about Plaintiff's looks. Plaintiff often worked overtime without pay and was not properly paid.
   2   She was asked and told that she needed to be available at all times of the day and night and
   3   Defendant MYERS would call Plaintiff at late hours and on weekends and just want to talk even
   4   thought there was no emergency. Plaintiff asked for training that she had heard that others
       received but she was never trained in the same way as others.
   6          11. Plaintiff was discriminated because of her race, color, gender, national origin, and
   7   religion. Plaintiff was told as well as other employees that SPARTAN and Defendant MYERS
       preferred Males in her position and that Males were more reliable. Plaintiff and other emplyees
   9   were also told that SPARTAN in the middle of 2016 wanted to hire more males and non-blacks. •
  10   With respect to the company hierarchy, there are no or a nominal amount of black persons in the
       higher management end administration at Defendants. Plaintiff was told by Defendant MYERS
  12   that she had no days off and that she needed to be on call at all times. Plaintiff was subjected to a
  13   hostile work environment where he was subjected to her continual sexual harassment, retaliation
  14   and discrimination.
  15          12. Plaintiff was precluded from meetings and purposefully excluded from meetings that
  16   she should have been invited too and to training that she should have been given after she made
  17   complaints. When she would ask a questions about Defendant MYERS conduct, or pose any
  18   questions to him, he would respond because that is the way that it is and I'm a marine and
  19   because I said it is a good enough answer.
  20           13. We also have knowledge that Plaintiff's job duties and responsibilities after her
  21   separation and termination form employment were given to em.ployee(s) with less skills and
  22   experience than Plaintiff who were of a different race, national origin, and gender and who had
  23   not taken and leave from employment based upon medical issues. Defendants did nothing to
  24   protect Plaintiff from retaliation, discrimination and harassment, even though Human Resources
  25   and thus Defendants was aware of the discrimination, harassment, and retaliation. After
  26   Plaintiff's termination, the company changed the name and job title of the job that Plaintiff had
  27   and shortly after Plaintiff's termination, changed certain aspects of the job and its policies and
  28   procedures.
               14 . Throughout her tenure of employment with SPARTAN, Plaintiff's job performance
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                                                 COMPLAINT
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       was more than satisfactory since her employment began with Defendants.. Likewise, Plaintiff
   2   had always performed all of her job duties satisfactory while she was employed with Defendants.
   3          15. During the process in fighting the adverse employment actions, Plaintiff was
   4   retaliated against for whistle blowing as to working hours, complaints as to =that harassment,
   5 and complaining that Defendants were not following proper procedures, guidelines and rules and
   6   well as violation of FEHA. Plaintiff did not receive her, last check until on or after July 13, 2018
   7   even though she was terminated prior thereto. During all relevant times, Plaintiffs direct
   8 supervisor was Defendant MYERS and she was to report to him and she had to interact with him.
   9           16, The above described conduct has had a devastating effect on Plaintiff; her well
  10   being, and her family relationships. It has greatly affected sleeping habits, and caused much
  11   stress and other physical side affects to Plaintiff.
  12           17. As a direct and proximate result of the unlawful conduct on the part of defendants,
  13   and each of them, as alleged herein, Plaintiff has suffered loss of earnings and employment
  14   benefits in an amount yet unascertained, but subject to proof at trial.
  15           18. As a direct and proximateresult of the unlawful conduct on the part of defendants,
  16   and each of them, as alleged herein, Plaintiff has suffered and continue to suffer injury, pain and
  17 suffering, loss of self esteem, humiliation, mental anguish and emotional distress, all to plaintiffs
  18   damage in an amount to be proven at trial, in excess of the threshold jurisdiction of this court. '
  19           19. As a direct and proximate result of defendants' disCriminatory conduct as
  20   described herein, Plaintiff is entitled to recover general, special, punitive and other compensatory
                                                                              , .
  21   damages in amounts to be proven at trial. Plaintiff is also entitled to recover reasonable
  22   attorneys' fees and costs of suit as provided by California Government Code Section 12965(b).
  23           20. The conduct of all defendants, including Defendant MYERS, and each of them, as
  24   alleged herein, wasmaLicious„ fraudulent, oppressive and despicable, in that defendants, and each
  25   of them, acted with full knoWleclge of the unlawfulness of such acts, and with conscious
  26   disregard of the consequence to plaintiff, as alleged herein, and with intent to harass and
  27   discriminate against plaintiff, and in willful, conscious, wanton and reckless disregard for
  28   plaintiff's rights and for the deleterious consequences and cruel and unjust hardship resulting to
       Plaintiff. Consequently, Plaintiff is entitled to exemplary and punitive damages from defendants.
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                                                   COMPLAINT
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  1
  2                                ADMINISTRA11 VE PROCEDURES
  3           21. Within one year of her termination from employment and Plaintiff receiving her final
   4   pay check from SPARTAN, Plaintiff filed charges of discrimination against all named
   5   Defendants for each cause of action stated herein under the FEHA with the California
   6   Department of Fair Employment and Housing (DFEH).
   7          22. Plaintiff received her Right to Sue Notices from the DFEH within the past year and
   8   has filed this complaint within one year of the date of the letter on the Right To Sue Notice from
   9 the Fair Employment and Housing Act. Copies of said Notices were served on both Defendants.
  10                                     FIRST CAUSE OF ACTION
  11            GENDER DISCRIMINATION-. INCLUDING SEXUAL HARASSMENT
  12                                (Against All Defendants and all Does)
  13          23,     Plaintiff hereby repeats, re-alleges and repleads paragraphs 1 through 22 and
  14   incorporate the same as though fully set forth herein.
  15          24.     Plaintiff is a female.
  16          25. This cause of action is brought pursuant to the California. Fair Employment and
  17   Practices Act, section 12940-41 of the Government Code, which prohibits discrimination against
  18   a person in the terms, conditions, or privileges of employment on the basis of a person's gender,
  19   and the corresponding regulations of the California Fair Employment and Housing Commission.
  20          26. Based upon information and belief; no other males who held the similar title as
  21   Plaintiff were terminated or demoted in the middle of 2016 as was Plaintiff. One of the primary
  22   reasons for the adverse employment actions suffered by Plaintiff was because of her gender
  23   (being a female). There was a hostile working environment against Plaintiff based upon the
  24   facts alleged herein and SPARTAN and Defendant MYERS belief and policy was that males
  25   were preferred for the job that Plaintiff had during the relevant time period.
  26          27. The conduct of Defendants, including MYERS, and each of them as alleged herein,
  27   constitutes unlawful discrimination on account of gender in violation of California Government
  28   Code Sections 12940 and 12941 in that Plaintiff was singled out for differential treatment,
       terminated, and deprived of her employment by reason of her gender, that being female.
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                                                 COMPLAINT
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              28. At all times mentioned in this complaint, Defendants regularly employed more
   2   than 200 persons.
   3          29. None of the discriminatory or retaliating conduct of defendants, or any of them as
   4   alleged herein, was based upon a bona fide performance problem or occupational qualification.
   5          30. Plaintiff was at least as qualified, and based upon information and belief, more
   6   qualified to perform the duties and open positions that were later filled by others.
   7          31. Plaintiff believes and alleges that plaintiff's gender was a substantial and
   8   determining factor in defendant employer's decision to sexually harass Plaintiff, discriminate,
   9   retaliate, and eventually terminate Plaintiff from the employment with SPARTAN.
  10           32. As a direct, foreseeable, and proximate result of defendants' discriminatory acts,
  11   plaintiff has suffered and continues to suffer substantial losses in earnings, job benefits, and has
  12   suffered and continues to suffer humiliation, embarrassment, mental and emotional distress, and
  13   discomfort, all to plaintiff's damage in an amount in excess of the jurisdictional limit, the precise
  14   amount of which will be proven at trial.
  15                                    SECOND CAESE OF ACTION
  16           RACE DISCRIMINATION AND NATIONAL ORIGIN DISCRIMLNATION
  17                             (Against Defendants SPARTAN and all Does)
  18           33. Plaintiff hereby repeats, re-alleges and repleads paragraphs 1 through 32 and
  19   incorporate the same as though fully set forth herein.
  20           34. Plaintiff is a female who is of Egyptian national origin and who is both African
  21   American and of the Arabic race.
  22           35. This cause of action is brought pursuant to the California Fair Employment and
  23   Practices Act, section 12940-41 of the Government Code, which prohibits discrimination against
  24   a person in the terms, conditions, or privileges of employment on the basis of the person's race
  25   and national origin, and the corresponding regulations of the California Fair Employment and
  26   HouSing Commission.
  27           36. The conduct of defendants, and each of them as alleged herein, constitutes
  28   unlawful discrimination on account of age in violation of California Government Code Sections
       12940 and 12941 in that Plaintiff was singled out for differential treatment, terminated, and
                                                       7
                                                  COMPLAINT
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                            •
   1   deprived of her employment by reason of her race and national origin.
   2          37, At all times mentioned in this complaint, defendants regularly employed more than
   3   200 persons,
   4          38. None of the discriminatory or retaliating conduct of defendants, or any of them as
   5   alleged herein, were based upon a bona fide performance problem or occupational qualification.
   6          39. Plaintiff believes and alleges that Plaintiffs race was a substantial and
   7   determining factor in defendant employer's decision to harass, suspend, retaliate, discriminate
   8   and investigate/reprimand and terminate Plaintiff,
   9          40. As a direct, foreseeable, and proximate result of defendants' discriminatory acts,
  10   Plaintiff has suffered and continues to suffer substantial losses in earnings and job benefits, and
  11   has suffered and continues to suffer humiliation, embarrassment, mental and emotional distress,
  12   and discomfort, all to Plaintiff's damages in an amount in excess of the jurisdictional limit, the .
  13   precise amount of which will be proven at trial,
  14          41. Defendants and all Does committed the acts described in this complaint
  15   intentionally and knowingly with the intent to harm Plaintiff.
  16                                     THIRD _CAUSE OF ACTION
  17                  VIOLATION OF GOVERNMENT CODE SECTION 12940(k)
  18                           Failure to Prevent Discrimination Under FEIIA
  19                                   (Against Defendant SPARTAN )
  20           42. Plaintiff hereby repeats, re-alleges and repleads paragraphs•1 through 41 and
  21   incorporate the same as though fully set forth herein.
  22           43, At all times mentioned in this complaint, Government Code section 12940(k) was
  23   in full force and effect and was binding on defendants. This subsection requires defendants to
  24   take all reasonable steps necessary to prevent discrimination and harassment from occurring. As
  25   alleged above, defendants violated this subsection by failing to take all reasonable steps
  26   necessary to prevent discrimination, harassment and retaliation from occurring.
  27           44. Defendant had knowledge of other employees claims of harassment and
  28   discrimination in violation of Government Code Section 12940 et seq. Nonetheless, Defendant
       did nothing to protect employees from offenders of the law.
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                                                 COMPLAINT
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              45 Likewise, Defendants had knowledge that Plaintiff believed that she was being
   2   harassed, discriminated against and retaliated against without cause. In spite of this Defendants
   3   did not investigate the matter and allowed the discrimination, retaliation, and harassment against
   4   Plaintiff to continue up through the time that Plaintiff was terminated,
   5          46. As a proximate result of defendants' conduct, Plaintiff has suffered and
   6   continues to suffer humiliation, emotional distress, and mental and physical pain and anguish,
   7   lost wages and compensation, all to her damage in a sum according to proof.
   8          47      Defendants' conduct as described above was knowing, calculated and intentional.
   9          48.     Plaintiff has incurred and continues to incur legal expenses and attorney fees.
  10   Plaintiff is presently unaware of the precise amount of these expenses and fees and pray leave of
  11   court to amend this Complaint when the amounts are more fully known.
  12                                    FOURTR CADS OF ACTION
  13            HARASSMENT -HOSTILE WORK ENVIRONMENT, VIOLATION OF
  14                                GOVERNMENT CODE SECTION 12940
  15                                 (Against All Defendants and All Does)
  16          49. Plaintiff hereby repeats, re-alleges and repleads paragraphs 1 through 48 and
  17   incorporates the same as though fully set forth herein.
  18           50. At all times mentioned in this complaint, Government Code section 12940 et al. was
  19   in full force and effect and was binding on defendants. This subsection requires that defendants
  20   not harass employees. As alleged above, defendants violated this subsection by harassing
  21   Plaintiff, creating a hostile work environment, ignoring and ostracizing Plaintiff, humiliating
  22   Plaintiff, tolling perverted and off color jokes, making unwanted sexual advances, and putting
  23   down Plaintiff's religion.
  24           51. Defendant had knowledge of other employees claims of harassment and hostile work
  25   environment in violation of Government Code Section 12940 et seq. Nonetheless, Defendant
  26   did nothing to protect employees from offenders of the law.
  27           52.. Even after Plaintiff reported her complaints of unwelcomed advances, sexual
  28   innuendo's, comments about her looks, putting down black people and those of the Islamic
       religion, Defendants (including IvIYERS), continued to have Plaintiff work under, interact and
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       report to the same violators, who also continued to harass and retaliate against Plaintiff for
   2   making such complaints and defending herself.
   3          53, Plaintiff has suffered and continues to suffer humiliation, emotional distress, and
   4   mental and physical pain and anguish, general, compensatory and consequential damages, all to
   5   her damage in a sum accarding to proof.
   6           54. Defendants' conduct as described above was willful, despicable, knowing, and
   7   intentional; accordingly, Plaintiff seeks an award of punitive and exemplary damages in an
   8   amount according to proof as to Defendants, including the individual named Defendant LEVI
   9   MYERS.
  10           55. Plaintiff has incurred and continues to incur legal expenses and attorney fees.
  11   Plaintiff is presently unaware of the precise amount of these expenses and fees and pray leave of
  12   court to amend this complaint when the amounts are more fully known.
  13                                     FIFTH CAUSE OF ACTION
  14                          RELIGIOUS DISCRIMINATION UNDER FEHA
  15                            (Against Defendants SPARTAN and All Does)
  16           56. Plaintiff hereby repeats, re-alleges and repleads paragraphs 1 through 55 and
  17   incorporate the same as though fully set forth herein.
  18           57.     Plaintiff h a religious person and is that of the Islamic Faith/Religion. Plaintiff
  19   practices her religion. Defendant MYERS put down Plaintiffs religion on numerous occasions
  20   as well as the people that practice that religion, Plaintiff also requested a religious holiday and
  21   Defendant MYERS ignored the request and still scheduled Plaintiff to have to fly into Oklahoma
  22   on said day to work and told her that she could not observe her religious holiday.
  23           58. This cause of action is brought pursuant to the California Fair Employment and
  24   Practices Act, section 1294041 of the Government Code, which prohibits discrimination against
  25   a person in the terms, conditions, or privileges of employment on the basis of the person's
  26   religion, and the corresponding regulations of the California Fair Employment and Housing
  27   Commission.
  28   ///
       ///
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                                                  COMPLAINT
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                                                                      •
   1                                    sixni CAUSE OF ACTION
                                       RETALIATION UNDER FEHA
                                    (Against AEI Defendants and All Does)
   4          59. Plaintiff hereby repeats, re-alleges and repleads paragraphs 1 through 58 and
   5   incorporates the same nr though fully set forth herein.
   6          60. Plaintiff was retaliated for making her complaints under the FEHA of protected
   7   classes and that she was being sexually harassed as well as discriminated against based upon her
   8   gender and race. Plaintiff was also retaliated against for making requests to hold an meeting to
   9   discuss her concerns with the actions and conduct of Defendant MYERS.
  10          61. This cause of action is brought pursuant to the California Fair Employment and
  11   Practices Act, section 12940-41 of the Government Code, which prohibits discrimination against
  12   a person in the terms, conditions, or privileges of employment on the basis of retaliation.
  13           62. The conduct of defendants, and each of them as alleged herein, constitutes
  14   unlawful discrimination in violation of California Government Code Sections 12940 and 12941
  15   in that Plaintiff was singled out for differential treatment, terminated, and deprived of her
  16   employment because of retaliation and the complaints that she made as well as turning down
  17   sexual advances and late night and weekend calls to her.
  18           63. At all times ,)entioned in this complaint, Defendants regularly employed more
  19   than 200 persons.
  20           64. None of the discriminatory or retaliating conduct of defendants, or any of them as
  21   alleged herein, was based upon a bona fide performance problem or occupational qualification.
  22           65. As a direct, foreseeable, and proximate result of defendants' discriminatory acts,
  23   plaintiff has suffered and continues to suffer substantial losses in earnings, job benefits, and has
  24   suffered and continues to suffer humiliation, embarrassment, mental and emotional distress, and
  25   discomfort, all to plaintiff's damage in an amount in excess of the jurisdictional limit, the precise
  26   amount ofwhich will be proven at trial. Defendants' conduct as described above was willful,
  27   despicable, knowing, and intentional; accordingly, Plaintiff seeks an award of punitive and
  28   exemplary damages in an amount according to proof as to the named entity Defendants as well as
       to this cause of action defendant MYERS.
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                                                 COMPLAINT
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                                          SEVENTH c'AXSX OF ACTION
   2                 WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY
   3                                (Against Defendants SPARTAN and all Does)
   4             66. Plaintiff hereby repeats, re-alleges and repleads paragraphs 1 through 65 and
          incorporates the same r though fully set forth herein.
                 67. Plaintiff alleges that Defendants termination of Plaintiff was in violation of the public
   7      policy as expreaked both in California Constitution Article 1, section 8 which prohibits
   8      discrimination against employees based upon race, national origin, religion and gender, as well as
   9      sexual harassment. The above described conduct of Defendants also constitutes a discrimination,
  10      harassment and retaliation, and wrongful termination of Plaintiff in violation of public policy
          embodied in the FE1-1A.
                  68. As a direct, r6reseeable, and proximate result of defendant employer's wrongful
          termination of Plaintiff in violation of the public policy of the State of California, Plaintiff has
  14      lost and will continue to lose income and benefits, and has suffered and continues to suffer
      5   humiliation, embarrassment, mental and emotional distress, and discomfort all to Plaintiff's
  16      damage in an amount in excess of the jurisdictional limit, the precise amount of which will be
  17      proven at trial.
  18              69. Because the a; as taken toward Plaintiff were carried out by managerial employees
  19      such as Defendant MYER"s acting in a deliberate, cold, callous, malicious, oppressive, and
  20      intentional manner in order to injure and damage Plaintiff, Plaintiff requests the assessment of
  2       punitive damages against defendant empl. >yers in an amount appropriate to punish and make an
  22      example of defendants. The acts, conduct and negligence of defendants caused Plaintiff to suffer
  23      emotional distress and, as a result thereof, Plaintiff has suffered damages as set out in this
  24      complaint in amounts to he proven at the time of trial.
  25                                       REQUEST FOR JURY TRIAL
  26              Plaintiffs request and demands for a trial by jury.
  27                                      ERAIEHOR RELIEF
  28              WHEREFORE., Plaintiff prays judgment against defendants, for each cause of action, as
          follows:
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                                                     COMPLAINT
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                For general and compensatory damages in an amount according to proof;
   2      2a    For mental and emotional distress damages on each cause of action;
                For exemplary and punitive damages in an amount appropriate to punish Defendants and
   4            set an example on each cause of action and also as to Defendant MYERS as to the first,
   5            fourth and sixth (-uses of action;
   6      4.    For an award of interest, including prejudgment interest, at the legal rate;
   7 1 5.       For an award of attorney fees;
   8      6,    For costs of suit herein incurred;
   9      7,    For a trial by jury; and
  10      8.    For such other and further relief as the court may deem just and proper.
  11
                                                     RESPECTFULLY SUBMITTED,
          Dated: June 14, 2018                   LAW OFFICES OF ERIC V. LUEDTICE
  1
  14                                             By:
                                                       Eric V. Luedtke,      ,
  15                                                   Attorneys for Plaintiff,
                                                       Karima Hussein
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                                                       COMPLAINT
